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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION

UNITED STATES OF AMERICA                                          PLAINTIFF

v.                         No. 4:15-cr-46-DPM-3

GRAYSON MOORE                                                  DEFENDANTS

                                  ORDER

     Grayson Moore entered United States Marshals Service custody after

pleading guilty on 9 September 2015. Moore is eight months pregnant. She

has three small children- ages eleven, seven, and three. And the Court's

docket won't allow for sentencing before Moore's October due date. In light

of all these circumstances, the Court recommends that the United States

Marshals Service house Moore at the closest available federal facility with an

on-site hospital until her 15 December 2015 sentencing.

     So Ordered.


                                   D.P. Marshall Jr.
                                   United States District Judge
